                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

UNITED STATES OF AMERICA            )                DOCKET NO. 3:20-cr-426-FDW
                                    )
            v.                      )
                                    )                GOVERNMENT’S
JEFFREY DONALD BLACK                )                SENTENCING EXHIBITS
____________________________________)

       NOW COMES the United States of America, by and through William T. Stetzer, Acting

United States Attorney for the Western District of North Carolina, and submits this set of Exhibit,

which were provided by the U.S. Probation and Defense Counsel to the Court during the

sentencing hearing today:

           •   Indictment and Judgment for Robbery with Dangerous Weapon in Docket Number
               97-CRS-007681 (date of offense 1/9/1997)
           •   Indictment and Judgment for Attempted Robbery with Dangerous Weapon in
               Docket Number 97-CRS-117287 (date of offense 1/13/1997)
           •   Indictment and Judgment for Breaking & Entering in Docket Number
               17CRS050352 (date of offense 8/3/2016)
           •   Indictment and Judgment for Breaking & Entering in Docket Number
               16CRS062729 (date of offense 8/4/2016)
           •   Transcript of plea to both Breaking & Entering convictions at issue


       RESPECTFULLY SUBMITTED this 27th day of October 2021.

                                             WILLIAM T. STETZER
                                             ACTING UNITED STATES ATTORNEY

                                             /s/ Steven R. Kaufman
                                             STEVEN R. KAUFMAN
                                             ASSISTANT UNITED STATES ATTORNEY
                                             227 W. Trade St., Suite 1650, Charlotte, NC 28202
                                             (704) 338-3117 (direct); (704) 227-0254 (fax)
                                             Steven.Kaufman@usdoj.gov




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